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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


Peter Bepler,
                       Plaintiff,                  Civil No. 1:17-cv-01876-TSC

       v.

Daniel Matthew Vorobek, et al.

                       Defendants.


                  DEFENDANT CHRISTOPHER JOHN VOROBEK’S
              ANSWER AND DEFENSES TO FIRST AMENDED COMPLAINT

       Defendant Christopher John Vorobek, through his undersigned counsel, pursuant to Rule

8 of the Federal Rules of Civil Procedure, hereby responds to the First Amended Complaint filed

by Plaintiff Peter Bepler, and says that Plaintiff is not entitled to have judgment as demanded in

the First Amended Complaint for the following reasons:

First Defense

                                    NATURE OF THE ACTION

   1. Admitted.

   2. Defendant is without knowledge or information sufficient to form a belief as to the truth

       of this averment and on that basis this averment is denied.

   3. Defendant is without knowledge or information sufficient to form a belief as to the truth

       of this averment and on that basis this averment is denied.

   4. Admitted that Daniel Matthew Voorhees legally changed his name in 2011 to Daniel

       Matthew Vorobek. With respect to the remaining averments in paragraph 4, Defendant

       Christopher Vorobek is without knowledge or information sufficient to form a belief as to

       the truth of those averments and on that basis those averments are denied.
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5. Admitted that Daniel Matthew Vorobek is the legal name of Daniel Matthew Voorhees.

   With respect to the remaining averments in paragraph 5, Defendant Christopher Vorobek

   is without knowledge or information sufficient to form a belief as to the truth of those

   averments and on that basis those averments are denied.

6. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

7. Admitted.

8. This averment merely describes the Plaintiff’s claims and no response is required. To the

   extent that it is determined that a response is required, this averment is denied.

                                            PARTIES

9. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

10. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

11. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

12. Admitted.

13. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

14. Admitted.




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                                  JURISDICTION AND VENUE

15. This is a conclusion of law as to which no response is required, but to the extent it is

   determined that a response is required, this averment is denied.

16. This is a conclusion of law as to which no response is required, but to the extent it is

   determined that a response is required, this averment is denied.

17. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

18. Admitted that Defendant Christopher Vorobek lives in the District of Columbia and that

   Anybill maintains its headquarters in the District of Columbia. With respect to the

   remaining averments in paragraph 17, Defendant Christopher Vorobek is without

   knowledge or information sufficient to form a belief as to the truth of those averments

   and on that basis those averments are denied.

19. This is a conclusion of law as to which no response is required, but to the extent it is

   determined that a response is required, this averment is denied.

                              ANYBILL BOARD OF DIRECTORS

20. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

21. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

                   MR. VOORHEES’S FIRST FRAUDULENT TRANSFERS

22. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.




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23. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

24. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

25. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

26. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

27. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

28. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

29. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

       DENTONS HELPS MR. VOORHEES BURY THE INVESTIGATION RESULTS

30. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

31. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

32. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

33. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.



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34. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

35. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

36. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

37. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

38. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

39. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

40. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

41. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

             MR. VOORHEES’S SECOND FRAUDULENT TRANSFERS

42. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

43. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

44. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.



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45. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

46. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

47. Defendant admits that at various times over the past several years Mr. Daniel Vorobek

   had the use of an aircraft and various watercraft, and has owned an interest in real estate

   properties and several motor vehicles. Defendant is without knowledge or information

   sufficient to form a belief as to the truth of the remaining averments in this paragraph and

   on that basis those averments are denied.

48. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

                    MR. BEPLER’S INVESTIGATION AND
             MR. VOORHEES’S CONCEALMENT AND RETALIATION

49. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

50. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

51. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

52. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

53. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.




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54. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

55. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

56. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

57. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

58. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

59. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

60. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

61. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

62. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

63. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

64. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.




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65. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

66. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

67. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

68. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

69. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

70. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

71. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

72. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

73. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

74. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

75. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.




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76. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

77. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

78. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

79. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

80. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

81. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

                   MR. VOORHEES THWARTS BOARD OVERSIGHT

82. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

83. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

84. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

85. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

86. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.



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87. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

88. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied

                              MR. VOORHEES’S DUTIES

89. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of the averments that Daniel Matthew Vorobek is a director and officer of Anybill, and

   on that basis those averments are denied, but if it is true that Daniel Matthew Vorobek is

   a director and officer of Anybill, Defendant Christopher Vorobek admits that as a director

   and officer of Anybill, Mr. Daniel Vorobek would owe fiduciary duties, including a duty

   of care and a duty of loyalty and, subsumed within the duty of loyalty, a duty to act in

   good faith and in a manner he believes to be in the best interests of Anybill and its

   shareholders.

90. As stated above, Defendant is without knowledge or information sufficient to form a

   belief as to the truth of the averments that Daniel Matthew Vorobek is a director and

   officer of Anybill, and on that basis those averments are denied, but if it is true that

   Daniel Matthew Vorobek is a director and officer of Anybill, Defendant Christopher

   Vorobek admits that as a director and officer of Anybill, Mr. Daniel Vorobek owed

   fiduciary duties, including a duty of care and a duty of loyalty and, subsumed within the

   duty of loyalty, a duty to act in good faith and in a manner he believes to be in the best

   interests of Anybill and its shareholders.

91. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.



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92. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

93. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

94. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

95. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

96. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

                                          RICO

   Predicate Criminal Violations Of The Federal Wire Fraud Statute, 18 U.S.C. § 1343

97. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of the facts alleged in this averment and on that basis those portions of this averment are

   denied. With respect to the conclusions of law, no response is required, but to the extent

   it is determined that a response is required, these averments are denied.

98. Defendant Christopher Vorobek denies that he was involved in any fraudulent transfer,

   but he is without knowledge or information sufficient to form a belief as to the truth of

   the remaining averments in Paragraph 98, and on that basis those averments are denied.

99. Defendant is without knowledge or information sufficient to form a belief as to the truth

   of this averment and on that basis this averment is denied.

100.       Defendant Christopher Vorobek denies that he was involved in any fraudulent

   transfer, but he is without knowledge or information sufficient to form a belief as to the



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   truth of the remaining averments in Paragraph 100, and on that basis those averments are

   denied.

101.         Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

102.         Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

103.         Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

104.         Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

105.         Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

106.         Defendant Christopher Vorobek denies that he was involved in any fraudulent

   transfer, but he is without knowledge or information sufficient to form a belief as to the

   truth of the remaining averments in Paragraph 106, and on that basis those averments are

   denied.

107.         Denied.

108.         Defendant Christopher Vorobek denies that he was involved in any fraudulent

   transfer, but he is without knowledge or information sufficient to form a belief as to the

   truth of the remaining averments in Paragraph 108, and on that basis those averments are

   denied.




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                       The RICO Enterprise And Interstate Commerce

109.       Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

110.        Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

111.        Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

112.        Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

113.        Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

                                 Pattern of Racketeering

114.       Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

115.       Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

116.       Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

117.       Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

118.       Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.




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                                         Conspiracy

119.       Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

120.       Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

121.       Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

122.       Denied.

123.       Denied.

                                          Injury

124.       Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

125.       Denied that Christopher Vorobek participated in any conspiracy or permitted or

   approved any fraudulent transfer to any account. Defendant is without knowledge or

   information sufficient to form a belief as to the truth of the remaining averments in

   Paragraph 125 and on that basis those averments are denied.

126.       Denied that Christopher Vorobek participated in any conspiracy or permitted or

   approved any fraudulent transfer to any account. Defendant is without knowledge or

   information sufficient to form a belief as to the truth of the remaining averments in

   Paragraph 126 and on that basis those averments are denied.

          DEMAND ON THE ANYBILL BOARD IS EXCUSED AS FUTILE

127.       Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.



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128.       Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

129.       Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

130.       Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

131.       Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

132.       Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

133.       Denied.

134.       Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

135.        Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

136.        Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

                                 CAUSES OF ACTION

                                     COUNTS I-IX

137-203. These Counts are not asserted against Defendant Christopher Vorobek, so most of

   the averments contained therein are not asserted against him and no response is required,

   but to the extent that a response is required, with the exception of the few paragraphs

   specifically referenced below (142, 187, 191, 196, 200), Defendant is without knowledge



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   or information sufficient to form a belief as to the truth of those averments and on that

   basis those averments are denied.

142.       Denied.

187.       Denied.

191.       Denied.

196.       Denied.

200.       Denied.

                                       COUNT X

         Conspiracy to Misappropriate Funds (Derivatively Against Mr. Dorobek)

204.       Defendant Christopher Vorobek incorporates by reference as though restated each

   of his responses to the factual allegations in paragraphs 1 through 203, above.

205.       Denied.

206.       Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

207.       Denied.

208.       Denied.

209.       Denied.

210.       Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

211.       Denied.

212.       Denied.




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                                       COUNT XI

             Conspiracy to Convert Funds (Derivatively Against Mr. Dorobek)

213.        Defendant Christopher Vorobek incorporates by reference as though restated each

   of his responses to the factual allegations in paragraphs 1 through 212, above.

214.        Denied.

215.        Denied.

216.        Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

217.        Denied.

218.        Denied.

219.        Denied.

220.        Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

221.        Denied.

222.        Defendant is without knowledge or information sufficient to form a belief as to

   the truth of this averment and on that basis this averment is denied.

                                         COUNT XII

       Violation of RICO § 1962(c) (Directly and Derivatively Against Mr. Voorhees)

223-229. This Count is not asserted against Defendant Christopher Vorobek, so most of the

   averments contained therein are not asserted against him and no response is required, but

   to the extent that a response is required, Defendant is without knowledge or information

   sufficient to form a belief as to the truth of those averments and on that basis those

   averments are denied.



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                                            COUNT XIII

Violation of RICO §1962(d) (Directly and Derivatively Against Mr. Dorobek and Mr. Voorhees

   230.        Defendant Christopher Vorobek incorporates by reference as though restated each

        of his responses to the factual allegations in paragraphs 1 through 229, above.

   231.        Denied.

   232.        Denied.

                                               RELIEF

WHEREFORE, Defendant Christopher Vorobek responds that this action should be dismissed as

to Defendant Christopher Vorobek because no relief is sought against him in the First Amended

Complaint and because Plaintiff is not entitled to any relief against Defendant Christopher

Vorobek, who seeks judgment in his favor, and Defendant Christopher Vorobek seeks:

       A. A declaration that the allegations and factual contentions in the First Amended

           Complaint against Defendant Christopher Vorobek were not formed after an inquiry

           reasonable under the circumstances, and do not have evidentiary support, and an

           Order describing the conduct determined to be a violation of Rule 11 of the Federal

           Rules of Civil Procedure;

       B. A sanction imposed for violation of Rule 11 of the Federal Rules of Civil Procedure

           sufficient to deter repetition of such conduct or comparable conduct by others,

           including an order directing payment to Defendant Christopher Vorobek of all of the

           reasonable attorneys’ fees and other expenses incurred as a direct result of the

           violation;

       C. Defendant Christopher Vorobek’s costs and fees associated with the defense of this

           action; and



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       D. Such other and further relief as this Court deems just and appropriate.

Second Defense

Defendant Christopher Vorobek asserts that Plaintiff’s claims against him should be dismissed

because the First Amended Complaint fails to allege sufficient facts to allege the required

elements of the claims asserted against Defendant Christopher Vorobek and fails to state a claim

upon which relief can be granted with respect to Defendant Christopher Vorobek.

Third Defense

Defendant Christopher Vorobek asserts that Plaintiff’s claims against him should be dismissed

because the applicable statutes of limitations have expired with respect to Plaintiff’s claims.

Fourth Defense

Defendant Christopher Vorobek asserts that Plaintiff’s claims against him should be dismissed

because Plaintiff knew about the claims he asserts many years ago and despite having a fiduciary

duty to the shareholders and Anybill as a director and an officer of the Company, Plaintiff took

no action and delayed pursuing any claims for an unreasonably long time, so Plaintiff’s claims

are barred by laches.

Fifth Defense

Defendant Christopher Vorobek asserts that Plaintiff’s claims against him should be dismissed

because Plaintiff admits in his First Amended Complaint that he was paid a salary not because he

provided services to Anybill that justified the salary payments he received, but “as financial

returns to Anybill’s co-founders [that] are made through salary,” and that he caused Anybill to

pay no dividends to shareholders including Defendant Christopher Vorobek while he improperly

took money from Anybill, which breached his obligations to Anybill and to Anybill’s

shareholders, including Defendant Christopher Vorobek.



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Sixth Defense

Defendant Christopher Vorobek asserts that all of Plaintiff’s derivative claims on behalf of

Anybill, including all of Plaintiff’s claims against Defendant Christopher Vorobek should be

dismissed because Plaintiff, as the President of Anybill, and an officer and a director, violated his

duties to Anybill and to shareholders of Anybill, including Defendant Christopher Vorobek. If

the allegations in the First Amended Complaint are true, Plaintiff was responsible for much of

the alleged misconduct identified in the First Amended Complaint, including but not limited to, a

failure to oversee and protect the assets of Anybill, a failure to hold Board meetings, a failure to

file tax returns, a failure to pay dividends, failure to provide financial statements to shareholders,

paying salaries to employees beyond the value of the services those employees provided to the

company, receiving salary payments for many years far in excess of the services Plaintiff

provided the Company “as [a] financial return[] to [Plaintiff as an] Anybill’s co-founder[] made

through salary,” which breached his obligations to Anybill and to Anybill’s shareholders,

including Defendant Christopher Vorobek, and Plaintiff would therefore be a proper defendant,

but is not a proper plaintiff to fairly and adequately represent the interests of the corporation and

other shareholders.

Seventh Defense

Defendant Christopher Vorobek asserts that all of Plaintiff’s derivative claims on behalf of

Anybill, including all of Plaintiff’s claims against Defendant Christopher Vorobek should be

dismissed because Plaintiff’s individual claims conflict with the interests of Anybill and the

Plaintiff is likely to disregard the interests of other shareholders and appears to be using the

derivative action to gain leverage in his employment dispute against Anybill and to try to cause




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Anybill to increase the improper salary payments to him, and he is therefore not a proper

plaintiff to fairly and adequately represent the interests of the corporation and other shareholders.

Eighth Defense

Defendant Christopher Vorobek asserts that all of the Plaintiff’s claims, which are based on the

allegation that Defendant Christopher entered into a conspiracy to defraud Anybill by

misappropriating and converting funds belonging to Anybill, need to be pleaded with

particularity pursuant to Rule 9(b) of the Federal Rules of Civil Procedure and should be

dismissed as improperly pleaded.

Ninth Defense

Defendant Christopher Vorobek asserts that Plaintiff’s claims against him should be dismissed

because Plaintiff knew about the claims he asserts many years ago and despite having a fiduciary

duty to the shareholders and Anybill as a director and an officer of the Company, Plaintiff took

no action and delayed pursuing any claims for an unreasonably long time, so Plaintiff’s claims

are barred as having been waived.

Tenth Defense

Defendant Christopher Vorobek asserts that Plaintiff failed to make reasonable efforts to serve

Defendant Matthew Vorobek with the Complaint or First Amended Complaint in a timely

manner and as a result he is not a party to this action, and he is an indispensable party pursuant to

Rule 19 of the Federal Rules of Civil Procedure and the case should therefore be dismissed.




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September 20, 2017            Counsel to Defendant Christopher John Vorobek




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                               CERTIFICATE OF SERVICE

      I hereby certify that on this 20th day of September, 2017, I caused the foregoing

DEFENDANT CHRISTOPHER JOHN VOROBEK’S ANSWER AND DEFENSES TO FIRST

AMENDED COMPLAINT to be served electronically on all counsel of record.




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